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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF INDIANA
                                            INDIANAPOLIS DIVISION

HEATHER SPEARS,                         )
                                        )
              PLAINTIFF,                )
                                        )
V.                                      ) CASE NO. 1:21-CV-2934
                                        )
SUR LA TABLE, INC., AND MARQUEE BRANDS, )
LLC,                                    )
                                        )
              DEFENDANTS,               )

                                  COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff Heather Spears brings this action against Sur La Table, Inc. and Marquee Brands,

LLC for violation of the Americans with Disabilities Act, 42 U.S.C. §12101 et seq.

                                                        PARTIES

           1. Spears is an individual who resides in Marion County, Indiana.

           2. At the times relevant to her claims, Spears was an employee of Defendants.

           3. Sur La Table, Inc. is a Washington corporation doing business in Indiana.

           4. At the times relevant to Spears’ claims, Sur La Table, Inc. was Spears’ employer.

           5. Marquee Brands, LLC is a Delaware limited liability company doing business in Indiana1

                with its principal place of business in New York.

           6. At the times relevant to Spears’ claims, Marquee Brands, LLC was Spears’ employer.

                                             JURISDICTION AND VENUE

           7. This Court properly has jurisdiction over this matter under 28 U.S.C. §1331 inasmuch as

                Spears is asserting a claim arising under federal law.




1   Defendant Marquee Brands, LLC is not registered with the Indiana secretary of state.
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     8. This Court is a proper venue for this action under 28 U.S.C. §1391 inasmuch as

         Defendants may be found in this judicial district, and a substantial portion of the events

         giving rise to Spears’ claim occurred within this judicial district.

                                         ADA COVERAGE

     9. Spears is a qualified individual with a disability inasmuch as she is substantially impaired

         in the major life activities and has a condition which significantly restricts the ordinary

         functioning of her musculoskeletal system.

     10. Defendants, individually and together, were Spears’ employers within the meaning of the

         ADA.

                                     FACTUAL ALLEGATIONS

     11. Spears began experiencing discrimination on the basis of her disability on approximately

         January 11, 2020.

     12. Beginning on or around January 11, 2020, Spears requested a workstation that would

         allow her to pull her wheelchair up to it.

     13. A workstation existed which would have allowed Spears to pull her wheelchair up to it.

     14. Even if a workstation did not exist which would have allowed Spears to pull her

         wheelchair up to it, Defendants could have created or modified a compliant workspace.

     15. Instead of accommodating Spears’ request for a workspace to which she could pull up

         her wheelchair, Defendants simply refused and said that such a workspace was not

         available.

     16. Spears requested assistive software to help her to enter data into computers.

     17. Defendants refused to provide voice dictation and / or voice control software to Spears

         to accommodate her physical limitations.

     18. Sur La Table was acquired by Marquee Brands.
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      19. When Sur La Table was acquired by Marquee Brands, Marquee Brands extended offers

          of employment to all (or very nearly all) of Spears co-workers within her area.

      20. Marquee Brands did not extend an offer of employment to Spears.

      21. Sur La Table and Marquee Brands conspired to discriminate against Spears because of

          her disability.

      22. Sur La Table and Marquee Brands conspired to discriminate against Spears because of

          her requests for accommodation.

                               COUNT I: VIOLATION OF THE ADA

      23. Defendants discriminated against Spears because of her disability, in violation of the

          ADA.

      24. Specifically, Defendants failed to accommodate Spears.

      25. A reasonable accommodation was available.

      26. Defendants were motivated, at least in part, by Spears’ disability in making the decision

          not to hire, retain, transfer, or assign Spears when employees transferred from Sur La

          Table to Marquee Brands.

      27. Defendants’ actions violate the non-discrimination and non-retaliation portions of the

          ADA.

      28. Plaintiff has been harmed by Defendants’ unlawful conduct.

                                      PRAYER FOR RELIEF

      WHEREFORE Spears demands judgment against Defendants and the following relief:

  a. Plaintiff’s lost wages;

  b. Actual damages;

  c. Compensatory damages;

  d. Punitive damages;
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  e. Plaintiff’s attorney’s fees;

  f. The costs of this action;

  g. Reinstatement to her employment;

  h. Such other relief as this Court determines to be necessary and proper.




                                                        /s/ Jason R. Ramsland
                                                        Jason Ramsland, #29443-29
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                                       Demand for Jury Trial

      Plaintiff demands trial by jury on all issues so triable.

                                                        /s/ Jason R. Ramsland
                                                        Jason R. Ramsland (#29443-29)
